                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                      AT CHATTANOOGA

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:09-cr-123-016
 v.                                                    )
                                                       )       COLLIER / LEE
 DANIEL G. HARRIS                                      )
                                                       )


                                REPORT AND RECOMMENDATION

         Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on May 13, 2010.

 At the hearing, defendant moved to withdraw his not guilty plea to Count One of the Superseding

 Indictment and entered a plea of guilty to the lesser included offense of the charge in Count One,

 that is of conspiracy to manufacture, distribute, and possess with the intent to distribute five (5)

 grams or more of methamphetamine (actual) and fifty (50) grams or more of a mixture and substance

 containing a detectable amount of methamphetamine, a Schedule II controlled substance, in

 violation of 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(B) in exchange for the undertakings made

 by the government in the written plea agreement. On the basis of the record made at the hearing,

 I find the defendant is fully capable and competent to enter an informed plea; the plea is made

 knowingly and with full understanding of each of the rights waived by defendant; the plea is made

 voluntarily and free from any force, threats, or promises, apart from the promises in the plea

 agreement; the defendant understands the nature of the charge and penalties provided by law; and

 the plea has a sufficient basis in fact.

         Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

 One of the Superseding Indictment be granted, his plea of guilty to the lesser included offense of the

 charge in Count One, that is of conspiracy to manufacture, distribute, and possess with the intent to




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 distribute five (5) grams or more of methamphetamine (actual) and fifty (50) grams or more of a

 mixture and substance containing a detectable amount of methamphetamine, a Schedule II controlled

 substance, in violation of 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(B) be accepted, the Court

 adjudicate defendant guilty of the lesser included offense of the charge in Count One of the

 Superseding Indictment, that is of conspiracy to manufacture, distribute, and possess with the intent

 to distribute five (5) grams or more of methamphetamine (actual) and fifty (50) grams or more of

 a mixture and substance containing a detectable amount of methamphetamine, a Schedule II

 controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(B), and a decision

 on whether to accept the plea agreement be deferred until sentencing. I further RECOMMEND

 defendant remain in custody until sentencing in this matter. Acceptance of the plea, adjudication

 of guilt, acceptance of the plea agreement, and imposition of sentence are specifically reserved for

 the district judge.



                                                s/Susan K. Lee
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE



                                       NOTICE TO PARTIES

          You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
 to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
 of guilty in this matter. See 28 U.S.C. §636(b).




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